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OKLAHOMA
 BAPTIST                                                                         DavidWesleyWhitlock
                                                                                                President
 UNIVERSITY
                                                                              405.585.5801   405.585.5811
                                                                                         1 FAX

   okbu.edu                                            OBUBox61241I 500WestUniversityI Shawnee.
                                                                                             OK74804




 November 24, 2014

 Ms. Catherine E. Lhaman
 Assistant Secretary for Civil Rights
 United States Department of Education
 400 Maryland Ave. S.W.
 Washington, DC 20202-1100


          Re:   Claim of Title IX Religious Tenet Exemption

 Dear Ms. Lhaman,

 As President of Oklahoma Baptist University, I am the highest ranking official of this institution.
 I submit the following statement in order to claim on behalf of the University the religious tenet
 exemption :fromTitle IX of the Education Amendments of 1972 which is provided for in 20
 U.S.C. 1681, 1682, and which is the subject of 34 C.F.R. 106.12.

 Oklahoma Baptist University is a Southern Baptist institution of higher education. It is an
 Oklahoma nonprofit corporation whose principal office address is 500 West University,
 Shawnee, Oklahoma 74804. I enclose the Charter and Bylaws of the University.

 Oklahoma Baptist University is controlled by a religious organization. That organization is the
 Baptist General Convention of the State of Oklahoma. (See the University's Charter.) This
 Convention is a Southern Baptist general body whose constituency is the cooperating Southern
 Baptist churches of Oklahoma. It is an "association of churches" in the terminology of the
 Internal Revenue Code. Pursuant to the University's Charter and Bylaws, the Baptist General
 Convention of the State of Oklahoma controls the University in part by exercising its right to
 select the entire membership of the board of directors of the University, the governing body of
 the University. (See the University's Bylaws, especially Articles I and IL)

 The Convention's authority over the University constitutes control by the Convention which is
 more than sufficient to cause the institution to be exempt from Title VII of the Civil Rights Act
 of l 964's general prohibition against religious discrimination in employment under 42 U.S.C.
 2000e-2, § 703(e)(3) as an educational institution "which is in whole or in substantial part,
 owned, supported, controlled, or managed by a particular religion or by a particular religious




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corporation, association or society." (See, for example, the decision of the United States Circuit
Court of Appeals, Eleventh Circuit, regarding our sister Southern Baptist university in Killinger
v. Samford University, 113 F. 3d 196 (1997)).

This request for exemption is from provisions of Title IX to the extent application of those
provisions would not be consistent with the Convention's religious tenets regarding marriage,
sex outside of marriage, sexual orientation, gender identity, pregnancy, and abortion.
I identify those provisions to be:

Admissions:

34 C.F.R. § 106.21 including but not limited to (b)(iii) (governing differential treatment on the
   basis of sex in admissions); and (c) (governing admissions prohibition on the basis of marital
   or parental status).

Recruitment:

34 C.F.R. § 106.23 (governing nondiscriminatory recruitment).

Education Programs or Activities:

34 C.F .R. § I 06.31 (b)(4) (governing different rules of behavior or sanctions), and (b)(7)
   (otherwise limiting any person in the enjoyment of any right, etc);
34 C.F .R. § 106.32 (governing housing);
34 C.F.R. §106.33 (governing comparable facilities such as restrooms and locker rooms);
34 C.F.R. § 106.40 (governing different rules based on marital or parental status of students);
   and
34 C.F.R. § 106.41 (governing athletics);

Employment:

34 C.F .R. § I 06.51 (governing employment);
34 C.F.R. § 106.52 (employment criteria);
34 C.F.R. § 106.53 (recruitment);
34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
   decisions); and
34 C.F.R. § 106.60 (governing pre-employment inquiries).

The mission of the University is stated as follows:

       As a Christian liberal arts university, Oklahoma Baptist University transforms Jives by
       equipping students to pursue academic excellence, integrate faith with all areas of
       knowledge, engage a diverse world, and live worthy of the high calling of God in Christ




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The purpose of the University is declared in its Chruter, to wit:

        The purpose of this corporation is to encourage, support, provide, and maintain Christian
        education and to engage in Christian undertakings which are in keeping with the purpose
        of the Baptist General Convention of the State of Oklahoma.

Southern Baptist religious tenets have been described most extensively and most recently in The
Baptist Faith and Message 2000, a statement of faith adopted by the Convention. That statement
is attached.

In regard to marriage, sex outside of marriage, sexual orientation, gender identity, pregnancy and
abortion, the following statements are illustrative:

       "Marriage is the uniting of one man and one woman in covenant commitment for a
       lifetime. It is God's unique gift to reveal the union between Christ and His church and to
       provide for the man and the woman in marriage the framework for intimate
       companionship, the channel of sexual expression according to biblical standards, and the
       means for procreation of the human race .... Children, from the moment of conception,
       are a blessing and heritage from the Lord." XVII The Family, The Baptist Faith and
       Message 2000.

       "Man is the special creation of God, made in His image. He created them male and
       female as the crowning work of His creation. The gift of gender is thus part of the
       goodness of God's creation." Ill Man, The Baptist Faith and Message 2000. (The
       Southern Baptist Convention elaborated on this tenet most recently in 2014 by the
       adoption of a resolution "On Transgender Identity." It is attached.)

       "Christians should oppose racism, every form of greed, selfishness, and vice, and all
       forms of sexual immorality, including adultery, homosexuality, and pornography .... We
       should speak on behalf of the unborn and contend for the sanctity of all human life from
       conception to natural death." XV The Christian and the Social Order, The Baptist Faith
       and Message 2000.

The University's policies are rooted in these religious tenets. (See, for example, the University's
Policy on Sex, Sexuality and Gender Identity which is attached.)

Application of a regulation would not be consistent with these tenets if the regulation prohibited
the institution from following its policies, that is if the regulation prohibited the University:

       From engaging in recruiting and admissions under a policy which called for the
       consideration of an applicant for admission's sexual orientation, transgendered status,
       marital status, past and present practices regarding marriage, sex outside marriage,
       pregnancy, and abortion (these considerations collectively referred to hereafter as




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         "student and employee characteristics"), and prohibited the institution from treating that
         person differently as a result of that consideration;

         From subjecting students to rules of behavior, sanctions, or other treatment because of
         these student characteristics. Examples would be the institution's rules regarding
         eligibility for employment of the student by the institution; the assignment of housing,
         restrooms and locker rooms, and restrictions to athletic activities by birth sex; rules
         prohibiting homosexual conduct including but not limited to a prohibition of a student's
         engaging in sex with a person of his or her birth sex; prohibition of sex outside of
         marriage between a man and a woman; sanctions as the result of pregnancy and abortion;
         and

        From making all employment decisions, including but not limited to selection criteria and
        pre-employment inquiries, recruitment, the decision to employ, retention decisions, and
        decisions regarding sanctions, in a manner which takes into consideration these employee
        characteristics.

 Thus, this claim for exemption includes exemption from these specified regulations to the extent
 the regulation would require the institution to treat marriage, sex outside of marriage,
 homosexuality, gender identity, pregnancy and abortion in a manner that is inconsistent with the
 religious tenets of the Convention.

 I trust this letter is sufficient, but if you have any questions, please let me know. Thank you for
 your attention to this matter.

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 President

 cc: James P. Guenther, Esq.




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                           UNITED STATESDEPARTMANTOF EDUCATION
                                                OFr!Ch FOR CIVIL RlGHTS

                                                                                             THE ASSISTANT SECRETARY


 December 16, 2014

David Wesley Whitlock
President
Oklahoma Baptist University
500 West University
OB U Box 6124 1
Shawnee. OK 74804

 Dear President Whitlock:

The purpose of this letter is to respond to your November 24, 2014, letter to the U.S. Department of
Education, Office for Civil Rights (OCR), in which you requested a religious exemption for Oklahoma
Baptist University (University) of Shawnee. Oklahoma from Title IX of the Education Amendments of
1972 (Title IX), 20 U.S.C. ~ 1681. Title IX prohibits discrimination on the basis of sex in any education
program or activity operated by a recipient of Federal financial assistance.

The implementing regulation at 34 C.F.R. § 106.12 provides that Title JX does not apply to an
educational institution controlled by a religious organization to the extent that application of Title IX
would be inconsistent with the controlling organization ·s religious tenets. Therefore, such educational
institutions are allowed to request an exemption from Title IX by identifying the provisions of Title IX
that conflict with a specific tenet of the religious organization. The request must identify the religious
organization that controls the educational institution and specify the tenets of that organization and the
provisions of the law and/or regulation that conflict with those tenets.

Your request explained that the University "is a Southern Baptist institution of higher education'' and
stated that it is controlled by the Baptist General Convention of the State of Oklahoma. Your letter
enclosed a copy of the University's charter, which states that the University's purpose is "to encourage,
support. provide, and maintain Christian education and to engage in Christian undertakings which arc in
keeping with the purpose of the Baptist General Convention of the State of Oklahoma." You also
enclosed a copy of the University's bylaws, which state that the "Board of Trustees of the University shall
consist of thirty Trustees who shall be elected by the Baptist General Convention of the Stale of
Oklahoma." (Article II. Section I.) The bylaws further state that the "President of the University must be
an active member ofa church affiliated with The Baptist General Convention of the State of Oklahoma.'·
(Article V. Section 2.)

Your letter requests a religious exemption from the provisions of Title fX that "would not be consistent
with the Convention's re)jgious tenets regarding marriage, sex outside of marriage, sexual orientation.
gender identity. pregnancy. and abortion:· In support of this request you cite to The Baptist Faith and
Message 2000, the most recent statement of faith adopted by the Convention. According to your letter.
that statement of faith explains that the tenets of the Convention are that marriage is between one man and
one woman and serves as the means for procreation. that God made man in male and female form, and
that the "gift of gender is thus part of the goodness of God's creation.'' You further cite the Convention's
belief that one should "speak on behalfof the unborn and contend for the sanctity of all human life from
conception to natural death."

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You state that, for these reasons, the University is requesting an exemption from the following regulatory
provisions to the extent that they prohibit discrimination based on marital status, sex outside of marriage,
sexual orientation. gender identity. pregnancy, or abortion:

    •   34 C.F.R. § 106.21 (governing admission);
    •   34 C.F.R. § I06.23 (governing recruitment of students);
    •   34 C.F.R. § I 06.3 l(b)(4) (governing different n1lesof behavior or sanctions);
    •   34 C.F.R. § I06.31(b)(7) (governing the limitation of rights, privileges. advantages. or
        opportunities);
    •   34 C.F.R. § I 06.32 (governing housing);
    •   34 C.F.R. § I 06.33 (governing comparable facilities such as restrooms and locker rooms);
    •   34 C.f.R. § I06.40 (governing different rules based on marital or parental status of students);
    •   34 C.F.R. § 106.41 (governing athletics);
    •   34 C.F.R. § 106.51 (governing employment);
    •   34 C.F.R. § I 06.52 (governing employment criteria);
    •   34 C.F.R. § I 06.53 (governing recruitment of employees);
    •   34 C.F.R. § 106.57 (governing the consideration of marital or parental status in employment
        decisions): and
    •   34 C.F.R. § I06.60 (governing pre-employment inquiries).

The University is exempt rrom these provisions to the extent that they prohibit discrimination on the basis
of maritaJ status, sex outside of marriage, sexual orientation, gender identity, pregnancy, or abortion and
compliance would conflict with the controlling organization's religious tenets.

Please note that this letter should not be construed to grant exemption from the requirements of Title IX
and the regulation other than as stated above. In the event that OCR receives a complaint against your
institution, we are obligated to detennine initially whether the allegations fall within the exemption here
granted. Also. in the unlikely event that a complainant alleges that the practices followed by the
institution are not based on the religious tenets of the controlling organization. OCR is obligated to
contact the controlling organization to verify those tenets. If the organization provides an interpretation
of tenets that has a different practical impact than that described by the institution, or if the organization
denies that it controls the institution, this exemption will be rescinded.

I hope this letter responds fully to your request. If you have any questions, please do not hesitate to
contact me.

Sincerely,




Catherine E. Lhamon
Assistant Secretary for Civil Rights
U.S. Department of Education




EXHIBIT M                                                                                                        6
